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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 In re:                                           §
                                                  §
 FREE SPEECH SYSTEMS, LLC,                        §          Case No. 22 - 60043
                                                  §
                                DEBTOR.           §
                                                  §          Chapter 11 (Subchapter V)


 REPLY OF W. MARC SCHWARTZ AND SCHWARTZ ASSOCIATES, LLC TO THE
  UNITED STATES TRUSTEE’S OMNIBUS OBJECTION TO THE MOTIONS OF
     SHANNON & LEE LLP AND W. MARC SCHWARTZ FOR REHEARING
                ON THE ISSUE OF DISINTERESTEDNESS

          W. Marc Schwartz and Schwartz Associates, LLC (collectively “Schwartz””) reply to the

United States Trustee’s Omnibus Objection to the Motions of Shannon & Lee LLP and W. Marc

Schwartz for Rehearing on the Issue of Disinterestedness [ECF No. 223] (the “UST Response”)

as follows:

                                PRELIMINARY STATEMENT

          1.     The U.S. Trustee objects to Schwartz’s Motion Pursuant to Rule 59 of the Federal

Rules of Civil Procedure for Rehearing on the Issue of Disinterestedness with Respect to the

Debtor’s Application to Employ Schwartz [ECF No. 206] (the “Rule 59 Motion”) on the grounds

that (a) the Rule 59 Motion was not filed by Free Speech Systems, LLC as debtor in possession

(the “Debtor”), (b) the Rule 59 Motion does not meet the applicable standard for relief, and (c) the

additional evidence that Schwartz seeks to present at the rehearing is cumulative of the evidence

presented at the hearing. Schwartz responds to these points below.

          2.     Giving credit to the UST Response, Schwartz filed a Motion for Order Allowing

Administrative Expense Claim and Granting Related Relief [ECF No. 252] (the “Administrative

Expense Motion”) on October 24, 2022. To the extent that the Administrative Expense Motion is


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not prejudiced by the Court’s ruling on the Schwartz Employment Application, the Rule 59 Motion

will be either moot or so nearly so that it will be voluntarily withdrawn.1 Schwartz does not seek

to require the Debtor to engage Schwartz going forward or to continue to represent the Debtor in

this chapter 11 case. Rather, the Rule 59 Motion seeks to establish Schwartz’s disinterestedness to

resolve any uncertainty about Schwartz’s ability to receive compensation for services provided to

the Debtor through September 20, 2022.

        3.       The U.S. Trustee’s objection to the Schwartz Employment Application requested

that the Court exercise its discretion to fashion an equitable remedy because Schwartz did not

supplement the Bankruptcy Rule 2014 disclosures for employment of Schwartz in the IW Cases.

The Court indicated at the September 20 Hearing that its ruling should not be interpreted as

deciding that Schwartz were prevented from receiving compensation for work done prior to the

ruling. (Sept. 20, 2022 Hrg. Tr. 256:14-257:8). The Court’s ruling and comments can be

understood as granting the requested equitable remedy of denying Schwartz’s employment

because of the non-disclosure, while leaving open Schwartz’s ability to seek compensation through

a separate pleading. Absent a ruling to that effect, however, the Court should grant the Rule 59

Motion and allow Schwartz a fair opportunity to present evidence and arguments with respect to

Schwartz’s predisposition and the circumstances raised by the Court.

                                                ARGUMENT

    A. Schwartz Has Standing and Statutory Authority to File and Pursue the Rule 59
       Motion.

        4.       Through the Rule 59 Motion, Schwartz seeks a rehearing on the issue of

disinterestedness—and in particular, whether Schwartz had a predisposition under circumstances


1
  Reputational harm and loss of fees earned in the future may be sufficient to provide standing. See KLG Gates LLP
v. Brown, 506 B.R. 177, 190-91 (E.D.N.Y. 2014). However, Schwartz would not pursue a remedy under the Rule 59
Motion if there was no pecuniary interest.


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that render such a bias against the estate—in connection with the Debtor’s application to employ

Schwartz as CRO and Financial Advisor [ECF No. 83] (the “Schwartz Employment Application”).

Schwartz has statutory and constitutional standing to seek the relief requested in the Rule 59

Motion.

       5.       Rule 59(a)(1)(B) of the Federal Rules of Civil Procedure (the “Federal Rules”),

made applicable to the above-captioned chapter 11 case by Rule 9023 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), provides in relevant part, that “[t]he court may

grant a new trial on all or some of the issues—and to any party— . . . after a non-jury trial, for any

reason for which a rehearing has heretofore been granted in a suit in equity in federal court.”

(emphasis added). Neither Federal Rule 59 nor Bankruptcy Rule 9023 limit relief to the original

moving party.

       6.       Title 11 of the United States Code (the “Bankruptcy Code”) provides expansive

rights to be heard in chapter 11 cases. Bankruptcy Code § 1109(b) provides that any “party in

interest . . . may raise and may appear and be heard on any issue in a case under [chapter 11].” A

“party in interest” is an entity that has a personal stake in the outcome that can be addressed by a

favorable decision. See In re Cypresswood Land Partners, I, 409 B.R. 396, 417 (Bankr. S.D. Tex.

2009); see also In re Am. Appliance, 272 B.R. 587, 595 (Bankr. D.N.J. 2002) (holding that the test

for whether an entity is a “party in interest” is whether it has a sufficient stake in the outcome of

the proceeding to require representation).

       7.       Further, as the Bankruptcy Appellate Panel for the Sixth Circuit held in Bingham

Greenebaum Doll, LLP v. Glenview Health Care Facility, Inc. (In re Glenview Health Care

Facility, Inc.), 620 B.R. 582 (B.A.P. 6th Cir. 2020), the pecuniary interest of a professional in its

fees is sufficient for Article III and appellate standing with respect to a denied application to




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employ. Id. at 585; see also KLG Gates LLP v. Brown, 506 B.R. 177, 190 (E.D.N.Y. 2014) (holding

that a disqualified attorney had standing to appeal the disqualification order). Unless the denial of

the Schwartz Employment Application does not prejudice Schwartz’s ability to seek compensation

through the Administrative Expense Motion for the period from the petition date through

September 20, 2022, Schwartz has a pecuniary interest sufficient for standing and to be a party in

interest that can bring the Rule 59 Motion.2

         8.       The U.S. Trustee argues that the plain language of Bankruptcy Code § 327 provides

that the Debtor is the only party that can seek employment of Schwartz and seek a rehearing of the

Schwartz Employment Application. UST Response ¶ 9. But section 327(a) is silent on which party

must seek approval of the employment.3 The real question is the effect of Bankruptcy Rule

2014(a), which provides that “[a]n order approving the employment of attorneys, accountants,

appraisers, auctioneers, agents, or other professionals pursuant to §327, §1103, or §1114 of the

Code shall be made only on application of the trustee or committee.”

         9.       Applicable authority confirms that professionals may raise and be heard on issues

involving their own employment in bankruptcy cases. Addressing a similar argument as that raised

in the UST Response, the Sixth Circuit BAP in In re Glenview Health Care Facility, Inc. noted

that, as a procedural rule, Bankruptcy Rule 2014(a) does not limit or extend jurisdiction. 620 B.R.

at 585, n.2. The Bankruptcy Appellate Panel for the Ninth Circuit similarly reasoned in Mehdipour


2
  Schwartz submits that there is authority supporting the proposition that Schwartz is not precluded or prejudiced in
seeking compensation through the Administrative Expense Motion. See Administrative Expense Motion ¶¶ 17-21.
This is also consistent with the Court’s ruling at the September 20 Hearing. (Sept. 20, 2022, Hrg. Tr. 256:14-257:4).
If the Administrative Expense Motion is not prejudiced by the Court’s ruling at the September 20 Hearing, then
Schwartz arguably would not have a pecuniary interest in seeking a rehearing on the Schwartz Employment
Application.
3
  Bankruptcy Code § 327(a) provides that the trustee—and debtors in possession pursuant to Bankruptcy Code §§
1107—“with the court’s approval, may employ one or more attorneys, accountants, appraisers, auctioneers, or other
professional persons . . . .”. However, “[s]ection 327 does not, by its terms, limit standing of a professional to seek
employment.” Mehdipour v. Marcus & Millichap (In re Mehdipour), 202 B.R. 474, 479 (B.A.P. 9th Cir. 1996), aff’d
139 F.3d 1303 (9th Cir. 1998).


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v. Marcus & Millichap (In re Mehdipour), 202 B.R. 474 (B.A.P. 9th Cir. 1996), aff’d 139 F.3d

1303 (9th Cir. 1998), that allowing a professional to seek court approval of its retention was not

inconsistent with Bankruptcy Code § 327 or Bankruptcy Rule 2014. Id. at 479. And various courts

have authorized the retroactive employment of professionals in connection with requests for

compensation. E.g., In re McKenzie, No. 08-16378, 2013 Bankr. LEXIS 2672 (Bankr. E.D. Tenn.

July 2, 2013); In re Little Greek Rest., 205 B.R. 484 (Bankr. E.D. La. 1996); In re Saybrook Mfg.

Co., 108 B.R. 366 (Bankr. M.D. Ga. 1989); see also In re Triangle Chems., 697 F.2d 1280, 1289

(5th Cir. 1983) (reversing a bankruptcy court’s decision denying an application for compensation

on the basis that the court had discretion to approve such employment in connection with the

application).

         10.      While the U.S. Trustee might be correct if Schwartz was seeking to require the

Debtor to continue to engage Schwartz after the September 20 Hearing, that is not the relief

requested through the Rule 59 Motion. Rather, Schwartz seeks to resolve the dispute regarding its

ability to receive compensation for the services it provided to the Debtor through September 20,

2022. If the Court’s ruling at the September 20 Hearing does not prevent Schwartz from applying

for and receiving allowed compensation, then the Rule 59 Motion would be unnecessary.4

    B. The Rule 59 Motion Meets the Standard for a Rehearing under Rule 59(a).

            i.    Surprise from a new theory arising at trial is a valid basis for a rehearing.

         11.      The U.S. Trustee argues that the Rule 59 Motion does not meet the relevant

standard. Quoting Trevino v. Caliber Home Loans, Inc. (In re Trevino), 564 B.R. 890 (Bankr. S.D.

Tex. 2017), the U.S. Trustee contends that “‘[t]o be entitled to a new trial or hearing a party must

show a manifest error of law, manifest error of fact, or newly discovered evidence.” UST Response


4
 Schwartz continues to negotiate with the parties to this chapter 11 case to obtain a consensual resolution of both the
Rule 59 Motion and the Administrative Expense Motion.


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¶ 10. But that is not what Trevino says. According to Trevino—a decision about newly discovered

evidence— “[t]he plain language of Rule 59(a)(2) indicates that a motion under that rule may be

brought for many purposes, including seeking a new trial based on newly discovered evidence.”

Id. at 908. The case does not address the other “many purposes” for which a rehearing is

appropriate.

       12.      The language quoted in the U.S. Trustee’s objection comes from a parenthetical to

a “see also” citation to Simon v. United States, 891 F.2d 1154 (5th Cir. 1990). But Simon was an

appeal of a decision denying a motion under Rule 59(e) to alter or amend the judgement—rather

than a rule 59(a) motion for rehearing—where the defendant did not raise an affirmative defense

at or before trial. Id. at 1159. Courts have frequently held that amendment of a judgment under

Rule 59(e) requires manifest error. E.g., Wease v. Ocwen Loan Servicing, L.L.C., 852 F. App'x

807, 809 (5th Cir. 2021); In re Cyr, 2020 U.S. Dist. LEXIS 255998, at *2 (W.D. Tex. July 16,

2020) (2020 WL 10056295); Culpepper v. United States Fire Ins. Co., 2013 U.S. Dist. LEXIS

76555, at *5 (N.D. Tex. May 31, 2013) (2013 WL 2370550). But Rule 59(e) seeks different relief

than a Rule 59(a) motion based on surprise—Rule 59(e) calls into question the correctness of a

judgment, rather than whether the movant was on notice of the factual and legal issues that would

be the focus of the trial and had a fair opportunity to present its best case. See Templet v.

HydroChem Inc., 367 F.3d 473, 479 (5th Cir. 2004) (Reasoning that “Rule 59(e) ‘serves the narrow

purpose of allowing a party to correct manifest errors of law or fact or to present newly discovered

evidence.’”).

       13.      Schwartz submits that the Court should apply the standard with respect to surprise

under Rule 59(a) described in Conway v. Chem. Leaman Tank Lines, Inc., 687 F.2d 108 (5th Cir.

1982). According to Conway:




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               It is well settled that Rule 59 provides a means of relief in cases in
               which a party has been unfairly made the victim of surprise. . . . The
               surprise, however, must be “inconsistent with substantial justice” in
               order to justify a grant of a new trial. . . . The district court is
               therefore entitled to grant a new trial only if the admission of the
               surprise testimony actually prejudiced the plaintiffs' case. . . .This
               Court has limited reversible error from unfair surprise to situations
               where a completely new issue is suddenly raised or a previously
               unidentified expert witness is suddenly called to testify.

Id. at 112 (citations omitted). “‘[S]urprise during trial, by major variance in theory of recovery or

defense, undisclosed until after the trial is underway, is a long-established ground for granting a

[Rule 59(a)] motion.’” Burdyn v. Old Forge Borough, 330 F.R.D. 399, 410 (M.D. Pa. 2019)

(quoting Sanford v. Crittenden Memorial Hosp., 141 F.3d 882, 886 (8th Cir. 1998)).

       14.     In a contested matter in a bankruptcy proceeding, the relevant question for a

rehearing under Rule 59(a) due to surprise is whether the focus of the hearing was evident to the

parties prior to the hearing. See Kingsley Const., Inc. v. DDS Materials, Inc. (In re DDS Materials,

Inc.), No. 92-2922, 1993 U.S. App. LEXIS 39036, at *7 (5th Cir. Sep. 9, 1993) (holding that that

the bankruptcy court did not abuse its discretion because “[t]he bankruptcy court further found that

any surprise which may have occurred was not inconsistent with substantial justice, since it was

evident that to the parties that the focus of the full hearing would be upon which party breached

the contracts.”) (citing Conway, 687 F.2d at 111). The inquiry is on the factual and legal theories

that the moving party should have anticipated would be litigated at the hearing.

       15.     There was no indication that the September 20 Hearing would be about any

predisposition of Schwartz or circumstances that might render such predisposition a bias against

the Debtor’s bankruptcy estate. All signs were that the focus of the hearing on the Schwartz

Employment Application was going to be on the circumstances surrounding Mr. Schwartz not

supplementing his Rule 2014 disclosures in the InfoW Cases. The Debtor and the U.S. Trustee




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communicated this to the Court at the September 13, 2022, hearing at which the September 20

Hearing was scheduled.5 (Sept. 13, 2022, Hrg. Tr. 36:1-9). This was the only issue addressed in

the parties’ briefing to the Court and it was the focus of their presentation to the Court. (Sept. 20,

2022, Hrg. Tr. 210:13-18; ECF Nos. 154 & 166). Schwartz submits that fairness and substantial

justice require that Schwartz have the opportunity to prepare and present evidence and argument

regarding the issue of its predisposition, irrespective of whether there are manifest errors based on

the record at the September 20 Hearing.6


5
  At the September 13 hearing, Mr. Shannon for the Debtor and Mr. Nguyen for the U.S. Trustee represented to the
Court as follows:
                   MR. SHANNON: And again, Your Honor, I do believe that the U.S. Trustee's
                   primary objection is about the disclosures in the InfoW case. That's really the crux
                   of the objection and what will need to be investigated, so it’s not -- I don't think it
                   goes beyond that.
                   MR. NGUYEN: That's correct. There was a prior nondisclosure that occurred
                   before you. There's going to be some legal arguments on how you should address
                   that, but that’s where we are with the objection.
(Sept. 13, 2022, Hrg. Tr. 36:1-9). The U.S. Trustee also indicated that the discovery would be “very limited in terms
of the scope of the employment – the scope of the engagement that occurred between May 24th through May 31st,
and Mr. Lee in his declaration, there was about $21,000 of services.” (Sept. 13, 2022, Hrg. Tr. 35:8-11).
6
  To the extent that manifest error is required for a rehearing based on surprise under Rule 59(a)—rather than applying
only to Rule 59(e)—Schwartz submits that there were manifest errors of fact in the Court’s ruling. A manifest error is
one that is plain, indisputable, and disregards the credible evidence and controlling law. Bender Square Partners v.
Factory Mut. Ins. Co., No. 4:10-cv-4295, 2012 U.S. Dist. LEXIS 74709, at *7-8 (S.D. Tex. May 27, 2012) (2012 WL
1952265). Among the factual findings appearing to underlie the Court’s ruling amounting to manifest error are:
     a) Mr. Lee’s Statements at the May 19, 2022, Hearing—The Court referenced in its ruling that Mr. Lee stated
          that he had to renegotiate the Plan Support Agreement in the IW Cases. (Sept. 20, 2022, Hrg. Tr. 239:14-16).
          As reflected in the May 19, 2022, hearing transcript, however, Mr. Lee stated that the IW Debtors were going
          to evaluate “whether these debtors need to proceed with trying to confirm a plan with an amended plan
          support agreement or whether we are able to handle these creditors, the remaining creditors, outside of
          bankruptcy.” (Debtor’s Ex. 22, May 19, 2022, Hrg. Tr. 8:16-21). Mr. Lee also represented that he “hope[d]
          to do that very quickly.” (May 19, 2022, Hrg. Tr. 8:23-24). The evidence at the September 20 Hearing was
          that the evaluation occurred and the decision to agree to dismiss the IW Cases in light of the costs of
          continuing those cases was made by May 23, 2022. (Debtor’s Exs. 24 & 25).
     b) Omnibus Response to MTDs in IW Cases—The Court referenced the Debtors’ Omnibus Response to
          Motions to Dismiss (U.S. Trustee Ex. 7) (the “IW MTD Response”) in its ruling and indicated that the
          statements in the IW MTD Response that there remained a bankruptcy purpose were inconsistent with the
          representations that only ministerial work remained in the IW Cases on May 24, 2022. (Sept. 20, 2022, Hrg.
          Tr. 243:3-9). This disregards the evidence that the reason for IW Debtors decision to agree to the dismissal
          was the cost of litigating with the U.S. Trustee’s motion to dismiss the IW Cases, as indicated in the IW MTD
          Response (IW MTD Response ¶ 6) and confirmed by the testimony of Mr. Lee (Sept. 20, 2022, Hrg. Tr.
          80:10-25, 88:12-23, 89:2-18, 90:15-25, & 91:2-3) and Mr. Schwartz (Sept. 20, 2022, Hrg. Tr. 163:7-25). The
          evidence was that the IW MTD Response required discovery and that the U.S. Trustee argued that estate




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         ii.    Issues of control, independence, and loyalty were not raised in connection with the
                Debtor’s application to employ Schwartz prior to the September 20 Hearing.

       16.      The U.S. Trustee also argues that “questions of control, independence, and loyalty

were raised at prior hearings, in pleadings filed by creditors, and even acknowledged by Mr.

Schwartz in his declaration, stating: ‘Concerns were expressed at the inception of the InfoW

Debtors’ bankruptcy cases whether I would be serving Alex Jones or the creditors of InfoW

Debtors.’” UST Response ¶ 15 (footnotes omitted). The U.S. Trustee referenced the Court’s

questions about when Mr. Schwartz was retained by the Debtor and comments after the Plaintiff’s



      funds could be better used to address claims outside of bankruptcy. (Debtor’s Ex. 18). The IW Debtors,
      through Mr. Lee and Mr. Schwartz, ultimately agreed to dismiss the IW Cases to avoid this cost.
   c) AmEx Charges—The Court referenced in its ruling including the payment of AmEx charges in the Debtor’s
      first proposed cash collateral budget, indicating that such charges “consisted primarily of personal charges
      not related to the business.” (Sept. 20, 2022, Hrg. Tr. 247:21-24). The transcript of the August 3, 2022,
      hearing at which such charges were discussed was introduced into evidence by the U.S. Trustee. (U.S.
      Trustee’s Ex. 15). Mr. Schwartz’s testimony was that business expenses of the Debtor were paid through the
      AmEx card and that the amounts averaged approximately $300,000 per month. (Aug. 3, 2022, Hrg. Tr. 168:1-
      15). Although Mr. Schwartz testified that Alex Jones had in the past paid certain personal expenses that were
      recorded as owner draws and that the largest number of line items posted to the draw account was for Alex
      Jones’s housekeeper (Aug. 3, 2022, Hrg. Tr. 168:20-25), there was no evidence that the AmEx obligation the
      Debtor proposed to pay in the first interim cash collateral order reflected primarily personal charges of Alex
      Jones. Further, the evidence was that the AmEx charges going forward would only be for business expenses.
      (Aug. 3, 2022, Hrg. Tr. 169:1-8, 187:19-22). Mr. Schwartz also indicated in his August 3, 2022, testimony
      that the Debtor would “probably going to have to just let American Express shave the wind and see what we
      can do.” (Aug. 3, 2022, Hrg. Tr. 168:1-3). This does not indicate any predisposition of Schwartz.
   d) Proposed Third Cash Collateral Order—The Court referenced the Debtor’s proposed Third Cash Collateral
      Order [ECF No. 148] that provided $80,000 in travel expenses related to Alex Jones attending the trial in the
      Connecticut Litigation and that the Court’s attention was not directed to that proposed expense. (Sept. 20,
      2022, Hrg. Tr. 244:2-12). If relevant to the Court’s decision with respect to the Schwartz Employment
      Application, this disregarded the evidence. Mr. Battaglia filed and presented the proposed Third Cash
      Collateral Order to the Court. (Sept. 13, 2022, Hrg. Tr. 7:7-14:8; Sept. 20, 2022, Hrg. Tr. 13:4-14). Further,
      the evidence was that the proposed budget was communicated, negotiated, and agreed among the parties.
      (Sept. 13, 2022, Hrg. Tr. 5:24-6:2, 7:16-22). There was no failure of disclosure by Schwartz or indication of
      a predisposition.
   e) Relationship with PQPR—The Court indicated that it had issues with the relationship with the Debtor and
      PQPR with their professionals having engaged extensively pre-petition. (Sept. 20, 2022, Hrg. Tr. 246:12-14).
      But the evidence at the September 20 Hearing was that matters with PQPR were hardily negotiated and at
      times contentious. (Sept. 20, 2022, Hrg. Tr. 65:7-16).
   f) Post-Petition Analysis of PQPR’s Asserted Claim—The Court stated in its ruling that there was no evidence
      that the Debtor or its professionals analyzed the PQPR claim extensively post-petition and that the estate had
      not brought claims against PQPR. (Sept. 20, 2022, Hrg. Tr. 246:14-15). This disregarded the evidence that
      the Debtor scheduled PQPR’s asserted claim as disputed (U.S. Trustee’s Ex. 1 at p.15) and took the position
      that there was a basis for the avoidance of PQPR’s asserted claim. [ECF No. 113 at n.4].




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oral motion for appointment of a tort claimant’s committee, allegations about the IW Cases in the

Plaintiff’s motion to appoint a tort claimant’s committee and remove the Debtor as debtor-in-

possession about the IW Cases, and Mr. Schwartz’s declaration regarding the IW Cases.

        17.      None of these issues were raised by the U.S. Trustee or the Plaintiffs in opposition

to the Schwartz Employment Application. That made sense perfect sense—Bankruptcy Code §

327(a) is concerned with whether the professional has a present interest adverse to the estate or

concurrently represents a party with such adverse interest. Bank Brussels Lambert v. Coan (In re

AroChem Corp.), 176 F.3d 610, 623 (2d Cir. 1999); In re Muma Servs., Inc., 286 B.R. 583, 590

(Bankr. D. Del. 2002); Greene v. InforMD, LLC, No. 17-1779-SDD-EWD, 2018 U.S. Dist. LEXIS

124062, at *8 (M.D. La. July 25, 2018) (2018 WL 3579470). The inquiry under section 327(a) is

whether Schwartz had a “meaningful incentive” to act contrary to the best interests of the estate.

In re Quality Bev. Co., 216 B.R. 592, 595 (Bankr. S.D. Tex. 1995). Schwartz did not have reason

to believe that the September 20 Hearing was on the allegations raised in the tort claimants

committee motion or questions about Mr. Schwartz’s independence in the IW Cases instead of the

issues presented in the U.S. Trustee’s objection to the Schwartz Employment Application.7

        18.      The U.S. Trustee also asserts the Court clearly signaled its concerns during the

Debtor’s opening statement at the September 20, 2022, hearing. However, the crux of the Court’s

question was whether there was a “throughline” between the non-disclosure in the InfoW Cases

and the Debtor’s chapter 11 case. The evidence and argument at the September 20 Hearing was

focused on the issue of why Mr. Schwartz did not supplement his disclosures in the IW Cases after

the May 24 meeting with the Debtor. The evidence prepared and introduced at the September 20



7
 The U.S. Trustee’s objection to the Schwartz Employment Application raised only a single issue—what action should
the court take as the result of Mr. Schwartz not supplementing the Rule 2014 verified statement for the employment
of Schwartz in the IW Cases. This was confirmed by the U.S. Trustee at the September 13, 2022, hearing.


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Hearing was that the reason Mr. Schwartz did not supplement his disclosures was because the IW

Debtors had decided to agree with the U.S. Trustee’s demanded dismissal of their cases and were

no longer seeking to employ Schwartz under section 327(a).8

         19.      Further, the Court identified the issue being Mr. Schwartz’s relationship with Alex

Jones and PQPR. (Sept. 20, 2022, Hrg. Tr. 27:21-28:1). That Schwartz may have had a material

adverse interest arising from some predisposition was not raised prior to the close of evidence. The

issue came up the first time in the Court’s questions after the Debtor had finished its closing

presentation. (Sept. 20, 2022, Hrg. Tr. 210:13-211:18). The evidence in the record pointed to was

that the Debtor refused Alex Jones’s request to seek an extension of the automatic stay (Sept. 20,

2022, Hrg. Tr. 63:3-9), that the IW Debtors represented had considered the appropriate factors in

agreeing to dismiss their cases (Sept. 20, 2022, Hrg. Tr. 87:16-91:3; Debtor’s Ex. 24), and that the

IW Debtors focused on the benefit to their estates when obtaining dismissal with prejudice of the

Sandy Hook Litigation claims against them rather than the effect of any related party.9 (Sept. 20,

2022, Hrg. Tr. 83:10-84:3). The reason other evidence on this point was not introduced—including

the evidence that Schwartz seeks to submit at a rehearing—was because the issue of a potential

predisposition causing bias to the Debtor’s estate was not raised prior to the September 20 Hearing

so that it could be prepared and introduced.




8
  As the U.S. Trustee argued in the objection to the Schwartz Employment Application, “Rule 2014 has one primary
purpose—to facilitate strict compliance with section 327.” [ECF No. 154 at ¶ 154]. Evidence of whether Mr.
Schwartz’s supplemental disclosure was necessary, his reasoning for believing supplemental disclosure was not
necessary, and the appropriate action of the Court in the Debtor’s chapter 11 case appeared to be the only factual
issues for the September 20 Hearing beforehand.
9
  Schwartz submits that there was no competent evidence that Schwartz had a predisposition that created a bias against
the estate. See supra note 7. However, at a rehearing, the U.S. Trustee, the Sandy Hook Plaintiffs, and the Subchapter
V Trustee would also be able to present evidence on the issue.


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          iii.   Schwartz did not have the ability to address the issues on which the Court’s ruling
                 appears to rely.

        20.      Schwartz did not have a fair opportunity to address the issues identified by the

Court in its ruling that went beyond the limited basis of the U.S. Trustee’s objection or any

relationship Schwartz has with Alex Jones or PQPR. These included (a) the proposed Third

Amended Cash Collateral Order providing for payment Alex Jones’s travel expenses and security

during the Connecticut Sandy Hook trial (Sept. 20, 2022, Hrg. Tr. 244:5-12); (b) the Debtor’s

initial proposed payment of all legal fees for Connecticut state court counsel (Sept. 20, 2022, Hrg.

Tr. 244:21-25); (c) Alex Jones’s asserted indemnity (Sept. 20, 2022, Hrg. Tr. 247:14-16), (d) the

requested authority to pay the AmEx obligation in the first proposed Cash Collateral Order (Sept.

20, 2022, Hrg. Tr. 247:21-24); and (e) post-petition analysis of PQPR’s asserted secured claim and

the estate’s assertion of a claim against PQPR (Sept. 20, 2022, Hrg. Tr. 246:14-16). The issues

referenced by the Court go beyond the limited basis of U.S. Trustee’s objection to the Schwartz

Employment Application or any relationship Schwartz has with Alex Jones or PQPR.

        21.      Even if those issues had been raised prior to the close of evidence, Schwartz did

not have the opportunity to gather and present evidence on the issues. The documentary evidence

reflected and referenced in the Rule 59 Motion had to be gathered, prepared, and submitted to the

Court prior to the hearing. But these issues were not brought up until after the September 20

Hearing had begun and there was no reason for Schwartz to believe that the evidence would be

relevant to the matters litigated at the September 20 Hearing.10 There was no practicable way for


10
   Schwartz contends that there was no basis prior to the September 20 Hearing to suspect that evidence of the
following—that Schwartz anticipates that it would submit at a rehearing—would be relevant to the issues litigated:
(a) the prepetition negotiations with PQPR, representations by the Debtor through Schwartz that it would need to
pursue an immediate avoidance action against PQPR absent a superior negotiated solution, or the reasoning that
solution that was negotiated was superior; (b) Schwartz’s representation of the Debtor in connection with scheduling
PQPR’s claim as disputed; (c) Schwartz’s initial response to Alex Jones’ request that the Debtor seek to stay
enforcement of the Remand Order and extend the automatic stay to Alex Jones; (d) Schwartz’s questioning of Alex




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Schwartz to provide this evidence of Schwartz’s predisposition at the September 20 Hearing

without the issues being raised beforehand.

    C. The Evidence that Schwartz Seeks to Present at the Rehearing Is Appropriate for a
       Rule 59(a) Motion Based on Surprise.

         22.      The U.S. Trustee argues that the additional evidence that Schwartz seeks to

introduce at a rehearing is cumulative of the evidence already introduced at the September 20

Hearing. UST Response ¶ 18. The UST Response points to evidence presented at the September

20 Hearing that the Debtor, represented by Schwartz, took contrary positions to Alex Jones and

PQPR and engaged in arm’s-length negotiations with such parties that were at times contentious.

UST Response ¶ 19.

         23.      The additional evidence that Schwartz seeks to present is not merely cumulative.

“Cumulative evidence” is evidence that only corroborates, strengthens, or confirms other evidence.

See Chang v. City of Albany, 150 F.R.D. 456, 461 (N.D.N.Y. 1993). The thrust of the additional

evidence Schwartz seeks to present at a rehearing addresses a different issue than what was

introduced at the September 20 Hearing. It seeks to show that Schwartz did not have a

predisposition that created a bias adverse to the Debtor’s estate, whereas the evidence submitted

at the September 20 Hearing addressed the existence of a relationship between Mr. Schwartz and

Alex Jones or PQPR preventing Schwartz from representing the Debtor in taking opposing

positions to those parties. The additional evidence described in the Rule 59 Motion focuses on the

initial reactions of Schwartz, which is directly relevant to whether Schwartz had a predisposition

adverse to the Debtor’s bankruptcy estate.



Jones’ asserted indemnity claim; (e) the negotiations and analysis behind the Debtor’s agreement to the Connecticut
Lift Stay Motion and division of costs for Connecticut state court counsel, including the material risk that Alex Jones
would cease supporting the Debtor. While this evidence would have addressed the issues raised on the Court’s ruling,
it was not relevant to any objection to, or issue raised with, the Schwartz Employment Application prior to the
September 20 Hearing.


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        24.      Moreover, while newly discovered evidence that is merely cumulative does not

provide a basis for altering or amending judgment under Rule 59(e), it is not clear that presenting

cumulative evidence is inappropriate in a rehearing based on surprise. The rationale behind

allowing rehearing under Rule 59(a) on the basis of surprise is that a major variance in theory that

is not disclosed until after the trial is underway deprives litigants of a fair hearing that is consistent

with substantial justice. See Twigg v. Norton Co., 894 F.2d 672, 675 (4th Cir. 1990) (“[S]urprise

does not warrant a new trial unless it deprives the party of a fair hearing.”); Knowles v. Mut. Life

Ins. Co., 788 F.2d 1038, 1040 (4th Cir. 1986) (affirming trial court decision to grant new trial

based on surprise where new defense asserted at trial and plaintiff did not have a reasonable

opportunity to prepare to address that defense prior to the hearing). Where there is a prejudicial

surprise, the litigant is not able to prepare the evidence and arguments that would otherwise be

available for the litigant to present its best case.

                                           CONCLUSION

        25.     The Rule 59 Motion should be granted unless the Court’s ruling on the Schwartz

Employment Application does not prejudice the Administrative Expense Motion. Schwartz has

the requisite authority to bring the Rule 59 Motion and the relevant facts meet the standard for a

rehearing based under Rule 59(a) for surprise. Through the Rule 59 Motion, Schwartz seeks to

present evidence and arguments that Schwartz is disinterested and does not have any predisposition

limiting or interfering with its ability to advise or represent the Debtor on positions adverse to Alex

Jones or PQPR. The Debtor and Schwartz did not have a fair and full opportunity to present

evidence and arguments on this point at the September 20 Hearing because the issue was not raised

until after the hearing had begun.




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       26.     Schwartz does not seek to require the Debtor to engage Schwartz or for authority

to continue representing the Debtor in this chapter 11 case. The point of the Rule 59 Motion is to

provide Schwartz with a fair opportunity to establish Schwartz’s disinterestedness and remove the

uncertainty surrounding Schwartz’s ability to recover compensation for valuable services provided

to the Debtor through the September 20, 2022 Hearing.

Dated: November 15, 2022
                                             Respectfully submitted,

                                             KANE RUSSELL COLEMAN & LOGAN PC

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                                CERTIFICATE OF SERVICE

        I hereby certify that on November 15, 2022, a true and correct copy of the foregoing
document was served by the Court’s CM/ECF system on all parties registered to receive such
service on the date of filing.

                                                      /s/ Michael P. Ridulfo
                                                               Michael P. Ridulfo




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